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July 21, 2023

Honorable Lyle W. Cayce
Office of the Clerk
Unites States Court of Appeals for the Fifth Circuit
600 S. Maestri Place,
Suite 115
New Orleans, LA 70130

        Re: No. 22-30333            Robinson v. Ardoin

                                    USDC No. 3:22-CV-211; USDC No. 3:22-CV-214
Dear Mr. Cayce:

        Appellant the State of Louisiana, by and through its Attorney General Jeff Landry,
respectfully submits this supplemental letter in response to the district court’s “pertinent and
significant” order—entered July 17, 2023—scheduling a preliminary injunction hearing to
establish a remedial map for Louisiana’s congressional districts. See FRAP 28(j); 5th Cir. R. 28.4.

       This week, the district court ordered that the preliminary injunction hearing—stayed by the
U.S. Supreme Court in June of 2022—is now scheduled for October 3–5, 2023. Order, No. 3:22-
cv-211 (ECF No. 250). This decision is counter to both the Supreme Court’s directive in this matter
and common sense, as the elections that were preliminarily enjoined occurred eight months ago,
and time remains for a full trial on the merits before the next congressional elections. See Ardoin
v. Robinson, No. 21-1596 (U.S.) (June 26, 2023) (vacating stay thereby “allow[ing] the matter to
proceed before [this Court] for review in the ordinary course and in advance of the 2024
congressional elections in Louisiana”).

          Delaying trial will significantly impact the duration of this litigation. It is in the interests
of all parties to have a final adjudication of the merits well before the November 2024
congressional elections—less than sixteen months away. To do so will require not only that the
trial in this matter be held and a final judgment issue from the district court, but that sufficient time
remain for this Court and the U.S. Supreme Court to adjudicate any appeals arising from that final
judgment.1

        For the forgoing reasons and those reasons outlined in Appellants’ July 6, 2023 Letter
Brief, Louisiana requests the remedies outlined in Appellants’ July 6, 2023 Letter Brief.

                                                           Respectfully submitted,

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  Notably, the lower court has simultaneously scheduled a bench trial in a separate challenge to Louisiana’s state
legislative district maps to begin on November 27, 2023, although that litigation is both less time-sensitive (state
legislators will not compete for election again until 2027) and less advanced procedurally (as there was never a
preliminary injunction hearing) than the instant action. See Scheduling Order, Nairne v. Ardoin, No. 3:22-cv-178 (ECF
No. 110).
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